Case 2:04-Cr-20158-BBD Document 42 Filed 05/11/05 Page 1 of 2 Page|D 43

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UNITED STATES DlSTRLCT CE§*[§'ET
FOR THE WESTERN DISTRJCT OF ;EbINESSEE §= §§
WESTERN DIVISION ~ ' " ‘

 

   

UNITES STATES OF AMERICA,

Plaintiff,
v. Cr. No. 04-20158-D
TAMMY BRITT,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SENTENCING HEARING

 

For good cause ShOWn, the Sentencing hearing in this matter is hereby RESET from

Wednesday, May 11, 2005 to fhgndZ{€. 3 mZ(/U}, §§ , 2005. @/O-'$OFJCM

 

lt is so ORDERED, this the /¢ day of May, 2005.

 

 

U ITED STATES DISTRICT COURT JUDGE

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UNITED sATE DsTIIC COURT - WETERN DISTRCT oFTENNEssEE

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Honorable Bernice Donald
US DISTRICT COURT

